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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                               OAKLAND DIVISION


 EPIC GAMES, INC.,                                Case No. 4:20-cv-05640-YGR-TSH

                  Plaintiff, Counter-defendant,

 APPLE INC.,                                  OBJECTIONS TO SPECIAL MASTER
                                              RULINGS ON APPLE INC.’S
                  Defendant, Counterclaimant. PRODUCTIONS OF RE-REVIEWED
                                              PRIVILEGED DOCUMENTS



The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,

        Pursuant to section 4 of the Joint Stipulation and Order Approving Privilege Re-Review
Protocol (Dkt. 1092) (the “Protocol”), Apple respectfully submits the following Objections to
certain of the Special Masters’ privilege determinations issued on March 17, 2025, regarding
Apple’s production of re-reviewed and privileged documents. We are submitting these documents
for in-camera review contemporaneously with this filing.

       Apple’s objections relate only to documents Apple believes are not already covered by
Your Honor’s and Judge Gonzalez Rogers’ existing rulings on Apple’s privilege assertions in this
post-judgment discovery. As previously noted, see Dkt. 1109, Apple reserves all rights as to
documents affected by those rulings, including any post-judgment appellate rights.
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Entry No. 1468 (PRIV-APL-EG_00162417)

Entry No. 1468 (PRIV-APL-EG_00162417) is a slide deck for a presentation by both in-house
counsel (Jennifer Brown) and non-lawyers regarding injunction compliance requirements for link
format and buttons. Legal advice is directly reflected in the slides, as the presentation outlines in
detail Apple’s legal position and strategy as relates to this case, as well as other litigation and
enforcement matters. Certain slides also contain presentation notes from in-house counsel Ms.
Brown. Because this document reflects “legal opinions and communications made to the client to
keep the client informed of legal developments,” it is privileged. United States ex rel. Schmuckley
v. Rite Aid Corp., 2023 WL 425841, at *3 (E.D. Cal. Jan. 26, 2023); see also Labbe v. Dometic
Corp., 2023 WL 5672950, at *4 (E.D. Cal. Sept. 1, 2023) (privilege applies to “communications
for the purpose of giving legal advice”). Furthermore, Judge Yvonne Gonzalez Rogers upheld
other versions of the same deck as privileged and proposed redactions during the evidentiary
hearing in February, but did not uphold the documents as privileged in full. See, e.g., Hr’g Tr.
1479:6-1490:5 (Court ruling on privilege and proposed redactions to PRIV-APL-EG_00162520
(CX0859)). Apple maintains its claim of privilege over Entry No. 1468 in full. The document is
a privileged attorney-client communication and should be withheld.




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Entry No. 1514 (PRIV-APL-EG_00162841)

Entry No. 1514 (PRIV-APL-EG_00162841) is an email chain between non-lawyer Apple
employees, with in-house counsel (Kate Adams, Kyle Andeer, Sean Dillon, Brendan McNamara,
and Heather Grenier) copied, discussing a draft Newsroom post responding to the European
Commission’s decision in the Spotify matter. A non-lawyer relays substantive legal advice
regarding the anticipated decision that was given by in-house counsel—specifically naming Ms.
Adams and Mr. Andeer—to other Apple employees. In response, another non-lawyer responds to
the legal advice from in-house counsel, seeking clarification and soliciting additional legal
guidance. “[C]ommunications between corporate personnel and their in-house counsel made for
the purpose of securing legal advice are protected by [attorney-client] privilege,” United States v.
ChevronTexaco Corp., 241 F. Supp. 2d 1065, 1076 (N.D. Cal. 2002); see also Labbe, 2023 WL
5672950, at *4 (privilege applies to “communications for the purpose of giving legal advice”), as
are communications “between nonlegal employees” where they “discuss or transmit legal advice
given by counsel,” Dolby Lab’ys Licensing Corp. v. Adobe Inc., 402 F. Supp. 3d 855, 866 (N.D.
Cal. 2019). This document is therefore privileged and should be withheld.




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Entry No. 1555 (PRIV-APL-EG_00163001)

Entry No. 1555 (PRIV-APL-EG_00163001) is an email chain between non-lawyer Apple
employees, with in-house counsel (Kate Adams, Sean Cameron, Ling Lew, and Heather Grenier)
copied, discussing a draft Newsroom post and Q&A related to the release of certain DMA
documents. Non-lawyers share draft materials specifically soliciting legal advice from in-house
counsel and relay legal guidance that was provided by in-house counsel. In addition, they note
that in-house counsel continue to review the questions and materials. “[C]ommunications between
corporate personnel and their in-house counsel made for the purpose of securing legal advice are
protected by [attorney-client] privilege,” ChevronTexaco Corp., 241 F. Supp. 2d at 1076, as are
communications “between nonlegal employees” where they “discuss or transmit legal advice given
by counsel” or an “intent to seek legal advice about a particular issue,” Dolby Lab’ys Licensing
Corp., 402 F. Supp. 3d at 866. This document therefore contains privileged content that should be
redacted.




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Entry No. 1557 (PRIV-APL-EG_00163335)

Entry No. 1557 (PRIV-APL-EG_00163335) is a Quip containing a compilation of notes from a
meeting for the purpose of obtaining legal advice from counsel regarding legal agreements for
developers. Quip is a collaborative shared workspace where team members can contribute to
documents, slides and spreadsheets in real time. The meeting notes reflect discussions of legal
issues and questions directed to in-house counsel for the purpose of obtaining legal advice
(including comments requesting “[l]egal input”). “[C]ommunications between corporate
personnel and their in-house counsel made for the purpose of securing legal advice are protected
by [attorney-client] privilege,” ChevronTexaco Corp., 241 F. Supp. 2d at 1076; see also Labbe,
2023 WL 5672950, at *4 (privilege applies to “communications for the purpose of giving legal
advice”), as are documents that reflect or memorialize privileged communications with counsel,
see Chrimar Sys. Inc. v. Cisco Sys. Inc., 2016 WL 1595785, at *3 (N.D. Cal. Apr. 21, 2016). This
document is therefore privileged and should be withheld.




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Entry No. 1589 (PRIV-APL-EG_00163791)

Entry No. 1589 (PRIV-APL-EG_00163791) is a deck regarding a “Marketing Legal Discussion”
of App Store Offers. Slide 2 concerns “Legal Advice Topics” outlining specific marketing legal
considerations and recaps of recent meetings and legal advice provided therein. Similarly, Slide
17 of the deck features “Legal Advice Topics” with a description of legal concerns and an overview
of recent meetings regarding related legal advice. Privilege applies to “communications for the
purpose of giving legal advice,” Labbe, 2023 WL 5672950, at *4; c.f. In re CV Therapeutics, Inc.
Sec. Litig., No. C-03-3709 SI (EMC), 2006 WL 1699536, *4 (N.D. Cal. June 16, 2006) (“The
attorney-client privilege protects documents which ‘involve either client communications intended
to keep the attorney apprised of continuing business developments, with an implied request for
legal advice based thereon, or self-initiated attorney communications intended to keep the client
posted on legal developments and implications, including implications of client activity noticed
by the attorney but with regard to which no written request for advice from the client has been
found.’”). Therefore, this document should be withheld as privileged.




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Entry No. 1595 (PRIV-APL-EG_00163931)

Entry No. 1595 (PRIV-APL-EG_00163931) is an email chain between non-lawyer Apple
employees, with in-house counsel Ling Lew copied, discussing an update request for an external
payment disclosure sheet. A non-lawyer explicitly addresses the initial request to in-house counsel
by name along with two non-lawyers, showing an intent to solicit legal advice from counsel.
“[C]ommunications between corporate personnel and their in-house counsel made for the purpose
of securing legal advice are protected by [attorney-client] privilege,” ChevronTexaco Corp., 241
F. Supp. 2d at 1076; see also Labbe, 2023 WL 5672950, at *4 (privilege applies to
“communications for the purpose of giving legal advice”), as are “confidential disclosures” made
“to an attorney in order to obtain legal advice,” In re Meta Healthcare Litig., 2024 WL 3381029,
at *2 (N.D. Cal. July 10, 2024). This document is therefore privileged and should be withheld.




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Entry No. 1611 (PRIV-APL-EG_00163992)
Entry No. 1611 (PRIV-APL-EG_00163992) is an email chain between Apple employees,
including in-house counsel Jennifer Brown and Ling Lew, regarding the injunction compliance
engineering launch and related press strategy. In one email, Jennifer Brown provides a legal
perspective ahead of the new launch. These lines are minimally redacted to only withhold in-
house counsel’s legal advice. Because these comments consist of “communications for the
purpose of giving legal advice” regarding “compliance with relevant . . . regulations,” they are
privileged. Labbe, 2023 WL 5672950, at *4.




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Entry No. 1665 (PRIV-APL-EG_00164287)
Entry No. 1665 (PRIV-APL-EG_00164287) is a draft presentation entitled “Russian
Enforcement Challenges,” containing an overview of several ongoing regulatory and litigation
matters in Russia. All the slides are marked as “Privileged and Confidential.” The slide deck
relates directly to legal issues including timelines of various enforcement and legal actions, details
about specific orders and fines, litigation and appeal strategy, alternative dispute resolution
options, and descriptions of relevant sanctions. Because this presentation consists entirely of
“legal opinions and communications made to the client to keep the client informed of legal
developments,” it is privileged in full. United States ex rel. Schmuckley v. Rite Aid Corp., 2023
WL 425841, at *3 (E.D. Cal. Jan. 26, 2023); see also Labbe, 2023 WL 5672950, at *4 (privilege
applies to “communications for the purpose of giving legal advice”).




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Entry No. 1674 (PRIV-APL-EG_00164493)
Entry No. 1674 PRIV-APL-EG_00164493) is an email exchange between Apple employees
forwarding a series of updates from both in-house counsel and non-attorneys to in-house counsel
Heba Hamouda regarding the status of ongoing foreign activities. The updates are redacted. The
redacted portions of this email contain substantive descriptions of and updates on legal issues that
the legal teams and others are working on. These portions also contain specific questions that
employees are raising. “[C]ommunications between corporate personnel and their in-house
counsel made for the purpose of securing legal advice are protected by [attorney-client] privilege,”
ChevronTexaco Corp., 241 F. Supp. 2d at 1076; see also Labbe, 2023 WL 5672950, at *4
(privilege applies to “communications for the purpose of giving legal advice”), as are “confidential
disclosures” made “to an attorney in order to obtain legal advice,” In re Meta Healthcare Litig.,
2024 WL 3381029, at *2. The redacted portions of this document are therefore privileged and
should be withheld.




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Entry No. 1732 (PRIV-APL-EG_00165181)
Entry No. 1732 (PRIV-APL-EG_00165181) is a draft exhibit and disclosure schedule related to
a share purchase agreement. This document was attached to an email sent by in-house counsel
Christina Buser. The exhibit and disclosure schedule contain draft contractual language. “Drafting
legal documents is a core activity of lawyers, and obtaining information and feedback from clients
is a necessary part of the process.” Diversey U.S. Holdings, Inc. v. Sara Lee Corp., 1994 WL
71462, at *1 (N.D. Ill. Mar. 3, 1994); see also Se. Pa. Transp. Auth. v. Carmarkpcs Health, L.P.,
254 F.R.D. 253, 258 (E.D. Pa. 2008) (“Preliminary drafts of contracts are generally protected by
attorney/client privilege, since they reflect not only client confidences, but also legal advice and
opinions of attorneys, all of which is protected by the attorney/client privilege.” (cleaned up));
Barnes-Wallace v. City of San Diego, 2002 WL 35646619, at *4 (S.D. Cal. Dec. 5, 2002) (“As a
general rule, preliminary drafts of documents are protected by the attorney-client privilege.”).




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Entry No. 1795 (PRIV-APL-EG_00166218)
Entry No. 1795 (PRIV-APL-EG_00166218) is a document titled “App Store Legal Follow Ups”
and contains a list of specific legal issues that remained open regarding the App Store. The notes
include a header indicating they were prepared at the request of an attorney in connection with a
request for and provision of legal advice, it is privileged. See In re Premera Blue Cross Customer
Data Sec. Breach Litig., 329 F.R.D. 656, 662 (D. Or. 2019) (“A draft prepared at the request of
counsel or otherwise prepared by [a non-lawyer] and sent to counsel for review and legal advice
is subject to the attorney-client privilege.”); FTC v. Boehringer Ingelheim Pharms., Inc., 180 F.
Supp. 3d 1, 30 (D.D.C. 2016) (“[F]acts collected at counsel’s request for later use in providing
legal advice are protected.”).




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Entry No. 1888 (PRIV-APL-EG_00166918)
Entry No. 1888 (PRIV-APL-EG_00166918) is a Quip titled “Bruno: Tax -
Questions/clarifications” containing a list of tax questions. Several in-house counsel are listed as
users of the shared file, including Armando Cordoves, Jason Cody, Ling Lew, and Nicole Ewart.
As such, this document contains questions posed to counsel for the purpose of obtaining legal
advice and should be withheld as privileged attorney-client communications. See In re Grand Jury
Investigation, 974 F.2d 1068, 1070 (9th Cir. 1992) (“The attorney-client privilege protects
confidential disclosures made by a client to an attorney in order to obtain legal advice. . . .” (cleaned
up)).




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Entry No. 2136 (PRIV-APL-EG_00170509)
Entry No. 2136 (PRIV-APL-EG_00170509) is an email chain regarding regulatory questions
related to certain programs on iOS. The email starts as between Amazon and Apple employees
and is later forwarded internally between Apple employees, including in-house counsel Jason
Cody, Prince Zhandire, Katharina Kashishian, Pam Reid, and Ian Marshall, to answer the questions
posed. The questions contain several aspects of compliance with India’s regulations. In-house
counsel Ian Marshall answers the questions in the thread. Because these updates consist of
“communications for the purpose of giving legal advice” regarding “compliance with relevant . . .
regulations,” they are privileged. Labbe, 2023 WL 5672950, at *4.



 DATED: March 21, 2025                           WEIL, GOTSHAL & MANGES LLP
                                                 By: /s/ Mark A. Perry
                                                         Mark A. Perry

                                                 Counsel for Defendant Apple Inc.




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